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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BEASTIE BOYS, A NEW YORK PARTNERSHIP, :
MICHAEL DIAMOND, ADAM HOROVITZ AND : Case No. 12 CV 6065(PAE)
DECHEN YAUCH AS EXECUTOR OF THE ESTATE
OF ADAM YAUCH, DECEASED, EACH
INDIVIDUALLY AND COLLECTIVELY D/B/A
BROOKLYN DUST MUSIC,

Plaintiffs,
-against-

MONSTER BEVERAGE CORPORATION,
MONSTER ENERGY COMPANY,

Defendants.
MONSTER ENERGY COMPANY,
Third-Party Plaintiff,
-against-
ZACH SCIACCA a/k/a Z-TRIP,
Third-Party Defendant. :
x

MONSTER ENERGY COMPANY’S MEMORANDUM OF LAW IN OPPOSITION TO
THIRD PARTY DEFENDANT ZACH SCIACCA’S MOTION FOR SUMMARY
JUDGMENT DISMISSING THE THIRD-PARTY COMPLAINT

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Third-Party Plaintiff Monster Energy Company (“Monster”) respectfully submits this
memorandum of law in opposition to Third Party Defendant Zach Sciacca’s (“Sciacca” or
“Third-Party Defendant”) motion for summary judgment dismissing Monster’s Third Party-
Complaint, dated October 5, 2012 (“Third-Party Complaint”).

PRELIMINARY STATEMENT

This action arises from the Complaint of Plaintiffs Beastie Boys, Michael Diamond,
Adam Horovitz, Dechen Yauch as executor of the estate of Adam Yauch, and Brooklyn Dust
Music (collectively, “Plaintiffs” or “Beastie Boys”), filed August 8, 2012, alleging that Monster
infringed Plaintiffs’ copyrights by including four or five songs’ on a video Monster made of its
snowboarding event called “Ruckus in the Rockies” (the “Video”) without permission.
However, the circumstances which led to this action began on May 5, 2012 when Monster’s
employee Nelson Phillips (“Phillips”) asked Third-Party Defendant, who was performing at the
Ruckus in the Rockies after-party as a disc jockey (“DJ”), whether he had any music that it
would be permissible for Monster to use on the soundtrack for the Video. Sciacca responded
that Phillips could go onto Sciacca’s website which contained an original remix of Beastie Boys’
songs (the “Megamix”) and take what he wanted. The Megamix was available to download for
free. Before posting the Video online, Phillips emailed Sciacca a link to the Video containing
excerpts from Sciacca’s Megamix and asked him to approve it, which Sciacca did. Only then did

Monster place the Video online.

' In their Complaint, filed August 8, 2012, Plaintiffs alleged that Monster included four of its works on the Video.
(Compl. {§ 20, 58.) However, in the Memorandum of Law Plaintiffs submit in Support of the Third-Party
Defendant’s Motion for Summary Judgment, dated August 1, 2013, Plaintiffs assert for the first time, a year after
commencing this action, that the Video allegedly includes a fifth Beastie Boys work. (PI. Br. at 1, n. 1.) Without
waiving any defenses, objections, or admitting the truth of this allegation, it is irrelevant to the present motion
whether the Video allegedly contained four or five Beastie Boys’ works.

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Monster has filed a Third-Party Complaint alleging that Sciacca made an agreement with
Monster concerning the use of his Beastie Boys Megamix, which he breached since he did not
actually have permission to license it to Monster, and fraud for his representations to Monster
that it was permissible for Monster to use the Megamix as the soundtrack to the Video.
Although Sciacca maintains that he only granted approval for Monster to use his image in the
Video, Phillips and the documentary evidence set forth an alternative version of events that
support liability against Sciacca. In addition, there are numerous issues of material fact in
dispute. The credibility of witnesses and the weight of the evidence must be determined by the
trier of fact, which makes this case inappropriate for resolution on summary judgment.

STATEMENT OF FACTS

Monster is a publicly-held, maker of energy drinks sold under the “Monster” brand.
(Affidavit of Nelson Phillips, dated August 21, 2013, (“Phillips Aff.”), § 2.) As part of its efforts
to promote the Monster lifestyle and brand, Monster sponsors a number of events showcasing
action sports. (Phillips Aff. {{ 3,5.) In Canada, Phillips, the director of marketing for the
Canadian business unit of Monster Energy Canada, Ltd., a subsidiary of Monster, is responsible
for organizing these events. (Phillips Aff. {¥ 1, 4.)

In February 2012, Phillips began preparing for the 2012 Ruckus in the Rockies event (the
“Event”), which is a snowboarding competition that was to take place on May 5, 2012 in Lake
Louise, Canada. (Phillips Aff. § 6.) Phillips was responsible for selecting musical performers
for the Event as well as for the Ruckus in the Rockies after-party (the “After-Party”). (/d.)
Phillips ultimately booked a number of DJs to perform at the Event and the After-Party,

including Sciacca. (Phillips Aff. § 7.)

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Third-Party Defendant Sciacca is a DJ, producer, remixer and performer, who performs
under the name “Z-Trip.” (Affidavit of Zach Sciacca, dated July 25, 2013, (“Sciacca Aff”), | 2.;
Deposition Transcript of Zach Sciacca, dated April 2, 2013, attached as Ex. E to the Affidavit of
Tanya Pohl, dated, August 22, 2013 (“Pohl Aff.”), 12, lines 13-14.) “One of [his] specialties is
taking existing recordings and melding them with other recordings and sounds to create a new
product that is called a ‘remix.’” (Sciacca Aff. {3 (emphasis added).) Phillips decided to hire
Sciacca to perform at the After-Party and asked Carlos Giusto, an independent promoter and
talent manager with the Napoleon Investment Group, to negotiate on behalf of Monster with
Sciacca’s representatives. (Phillips Aff. { 8.) The operative contract concerning Monster’s
engagement of Sciacca, dated February 28, 2012, provides for Sciacca to perform live at the
After Party for $15,000 in compensation (the “After-Party Contract”). (Ex. A to Sciacca Aff.)

On May 5, 2012, the Event took place and, as was customary, numerous cameras
recorded footage of the snowboarders competing, as well as the awards ceremony. (Phillips Aff.
49.) Phillips planned to create a recap video of the Event that would feature highlights of the
snowboarders, the awards ceremony, as well as footage of the After-Party. (Phillips Aff. { 11.)

With this in mind, Phillips met with Sciacca in the evening of May 5, 2012 in the green
room prior to Sciacca’s performance at the After-Party. (Phillips Aff. { 11.) Phillips told
Sciacca that he wanted to create a video of the Event and asked Sciacca if he had any music that
Monster could use as a soundtrack to the Video. (/d.) Sciacca responded that Monster could use
the Megamix that he had made of several Beastie Boys’ songs, which was available for free
download on his website. (/d.) On May 7, 2012, during breakfast, Phillips had a subsequent
conversation with Sciacca regarding Monster’s use of his Megamix on the Video in which he

told Sciacca that he would send him the Video after the first edit was complete and that Monster

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would not publish the Video without Sciacca’s approval. (Phillips Aff. { 12.) Subsequent to
these conversations, Phillips went to Sciacca’s website and listened to Sciacca’s Megamix.
(Phillips Aff. ¢ 13.)

The Megamix is a 23.5 minute remix containing more than a dozen Beastie Boys’ songs,
which is an original work created by Sciacca and made with the knowledge and consent of the
Beastie Boys. (Sciacca Aff. Jf 11-12.) The Beastie Boys also knew and consented to Sciacca
making the Megamix available for free download on his website. (Sciacca Dep. Tr., Ex. E, 50,
lines 7-15, 68, lines 12-25). The Beastie Boys’ representatives provided Sciacca with the
instrumentals for the Beastie Boys’ songs embodied in the Megamix. (Sciacca Dep. Tr. Ex. E,
46, lines 12-25, 47, lines 2-3.) The Beastie Boys and Sciacca did not enter into any written
agreement concerning Sciacca’s creation, use, or rights to the Megamix and neither the Beastie .
Boys nor Sciacca were compensated in connection with the Megamix. (Sciacca Dep. Tr. Ex. E,
Al, lines 15-24, 47, lines 8-24, 53, lines 5-13.) Sciacca released his Megamix on his website

http://ztrip.bandcamp.com in April 2011 where it was available for free download by anybody.

(Sciacca Aff. {ff 10-11.) Sciacca represented to Phillips that his Megamix was still available for
free download on his website in May 2012 and the website did not indicate that there were any
restrictions or limitations to non-commercial uses for the download. (Phillips Aff. §11; Sciacca
Dep. Tr., Ex. E, 50, lines 7-15, 66, lines 10-19, 70, lines 15-25, 71, lines 2-4.)

As a result of Sciacca’s representations that Monster could use his Megamix, Phillips
directed that songs from the Megamix be used as the soundtrack to the Video. (Phillips Aff. §
14.) Pursuant to his agreement with Sciacca, on May 8, 2012, Phillips emailed Sciacca “Please
take a look at the video from this past weekend and let me know if you approve.” (Exhibit A to
Pohl Aff.; Phillips Aff. § 18.) On May 9, 2012, Sciacca approved the Video by responding

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“Dope,” which is a slang term indicating approval. (Exhibit A to Pohl Aff.; Phillips Aff. ¢ 19.;
Sciacca Dep. Tr., Ex. E, 116, line 25, 117, lines 2-3).) In his reply email, Sciacca does not
indicate that he is only approving Monster’s use of his image, or even mention his image, nor
does he object to the use of his Megamix on the Video. (Exhibit A to Pohl Aff.) Instead, he
requested that Monster include a link on its website to the Megamix (the “Link”), with the words

“Download the mix for free at http://ztrip.bandcamp.com.” (Exhibit A to Pohl Aff.; Phillips Aff.

4 19.) In exchange for the use of Sciacca’s Megamix on the Video, Sciacca received the benefit
of this additional promotion, as well as the placement of the Link on Monster’s website.
(Phillips Aff. § 19; Sciacca Dep. Tr., Ex. E, 69, lines 20-25, 70, lines 1-2 (explaining that Sciacca
receives a benefit when more people access his website).) On May 9, 2012, Monster placed the
Video, containing songs from Sciacca’s Megamix as its soundtrack, on its YouTube channel.
(Phillips Aff. 420.) In addition, Phillips emailed Sciacca that the Video had been posted. (/d.)
On May 10, 2012, again instead of indicating any objection to the use of his Megamix, Sciacca
for a second time, responded: “Dope.” (Exhibit B to Pohl Aff.; Phillips Aff. { 20.)

On June 13, 2012, Monster received a letter from Plaintiffs’ attorneys alleging that
Monster did not have permission to use Sciacca’s Megamix on the Video. (Phillips Aff. 21.)
Monster immediately removed the Video, which was only viewable online for five weeks.
(Phillips Aff. § 22.) Phillips and others at Monster then re-edited the Video to remove Sciacca’s
Megamix and/or any reference to Plaintiffs. (Phillips Aff. | 23.) Monster used music by the
band Swollen Members. (/d.) Monster would have used music by the Swollen Members, or
other artists, as the soundtrack to the Video in the first instance, if Sciacca had not represented

that it was permissible for Monster to use his Megamix. (/d.)

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Notwithstanding Monster’s immediate and thorough remedial measures, Plaintiffs have
doggedly pursued their claims against Monster. Accordingly, Monster filed its Third-Party
Complaint against Sciacca alleging that Sciacca breached his Agreement with Monster to supply
the Megamix for the Video and/or fraudulently misrepresented that he had the right to license his
Megamix to Monster. (See Exs. E & F to Affidavit of Stewart Levy, dated August 1, 2013
(“Levy Aff.”).) Moreover, Monster asserts that if it is found liable to Plaintiffs for copyright
infringement, including with respect to the Link, then Sciacca, who supplied the music, indicated
his approval of his Megamix in the Video, and requested that the Link be included on Monster’s
website, is liable to Monster for any resulting damages. (See Ex. F to Levy Aff.)

In support of his motion, Sciacca now contends that during his May 7, 2012 conversation
and May 9, 2012 email, he believed he was only approving the use of his image in the Video,
rather than the use of his Megamix that was prominently featured in the Video. (Sciacca Aff. {{
28-29.) Sciacca does not dispute that he never objected to, or questioned the use of, his
Megamix in the Video, as would be reasonable if he had not made an agreement with Monster
concerning its use. (Exhibit A to Pohl Aff.) He also never communicated to Monster that he was

only approving the use of his image in the Video. (See Id.) Moreover, on June 5, 2012, Sciacca
sent an email to his manager, Lorrie Boula (“Boula”), ee

a (Id. (emphasis added).) There remains therefore, disputes of

material fact as to what Sciacca represented to Phillips, whether a contract was formed between

Monster and Sciacca regarding the use of his Megamix, and whether Sciacca approved the use of
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his Megamix, which require the trier of fact to evaluate the credibility of the witnesses and the
documentary evidence. Sciacca’s motion for summary judgment must be denied.

SUMMARY JUDGMENT STANDARD

Summary judgment is only appropriate when, viewed in the light most favorable to the
non-moving party, there are no genuine disputes of material fact and the movant is entitled to
judgment as a matter of law. See Fed. R. Civ. P. 56; Anderson v. Liberty Lobby, Inc., 477 US.
242, 247 (1986). The moving party "bears the initial responsibility of . . . identifying those
portions of the pleadings, depositions, answers to interrogatories, and admissions on file,
together with affidavits, if any which it believes demonstrate the absence of a genuine issue of
material fact." Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). When there is sufficient
evidence for a jury to return a verdict for the party opposing summary judgment, the motion
must be denied and the case must proceed to trial. Anderson, 477 U.S. at 249. The Court must
resolve all ambiguities and draw all permissible factual inferences against the moving party. Id.
at 255.

The Court’s role is not to decide issues of material fact or make credibility
determinations, but merely to discern whether any factual issues exist. Rule v. Brine, Inc., 85
F.3d 1002, 1011 (2d Cir. 1996) (“Any weighing of the evidence is the prerogative of the finder
of fact, not an exercise for the court on summary judgment.”). “Assessments of credibility and
choices between conflicting versions of the events are matters for the jury, not for the court on
summary judgment.” Jd. (citing Fed R. Civ. P. 56(e) 1963 Advisory Committee Note). Because
numerous issues of material fact are in dispute and require credibility determinations by the trier

of fact, Sciacca’s motion for summary judgment should be denied in its entirety.

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ARGUMENT

I. Genuine Issues Of Material Fact Exist Concerning The Existence Of A Contract
Between Monster And Sciacca

Summary judgment must be denied, because there is a genuine issue of material fact as to
whether the oral conversations and emails between Phillips and Sciacca formed a contract. The
resolution of this dispute requires the trier of fact to evaluate the credibility of Phillips and
Sciacca, and assess the documentary evidence, which renders the resolution of the breach of
contract claim inappropriate for summary judgment. See Rule, 85 F.3d at 1011 (holding that
credibility assessments and evaluation of conflicting versions of events are to be decided by the
trier of fact and reversing award of summary judgment on breach of contract claim).

Sciacca’s extensive argument concerning his alleged lack of apparent authority to act on
behalf of the Beastie Boys is completely irrelevant to the instant motion that concerns Sciacca’s
liability. The analysis of agency law and determination of whether an agent had apparent
authority based on the actions of the principal relate to liability of the principal—in this case the
Beastie Boys—for the actions of the alleged agent. See, e.g., Herbert Constr. Co. v. Continental
Ins. Co., 931 F.2d 989, 993 (2d Cir. 1991) (explaining that New York agency law on apparent
authority, which analyzes whether the actions of the agent are traceable to the principal, falls in
the spectrum between the agent with actual authority to bind the principal and the agent who
falsely represented to a third party that he had authority to bind the principal). Agency law and
the doctrine of apparent authority certainly do not dictate that the alleged agent cannot be liable
for his own conduct in breaching a contract and perpetuating a fraud. Regardless of whether or
not Plaintiffs’ conduct failed to cloak Sciacca with apparent authority sufficient to support

liability against Plaintiffs, Sciacca’s argument that he lacked apparent authority is completely

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irrelevant for purposes of this motion, which relates to the liability of Sciacca (alleged agent or

not) for his own conduct.

A. The Oral Agreement And Emails Create A Contract

Under New York law, to prevail on a breach of contract claim, a plaintiff must prove (1)
the existence of an agreement; (2) the plaintiff's performance of the contract; (3) breach of the
contract by the defendant; and (4) damages. Power v. Tyco Int’l (US), Inc., No. 02-Civ.-6444,
2006 U.S. Dist. LEXIS 96188, at *47 (S.D.N.Y. May 29, 2006). New York law is clear that
parties are free to contract orally and oral agreements are enforceable. Wisdom Import Sales Co.
v. Labatt Brewing Co., 339 F.3d 101, 109 (2d Cir. 2003) (stating “oral agreements are binding
and enforceable absent a clear expression of the parties’ intent to be bound only be a writing”).
New York law is also clear that contracts can be created in a series of writings and/or in
conjunction with an oral agreement. Consarc v. Marine Midland Bank, N.A., 996 F.2d 568, 572
(2d Cir. 1993) (explaining that under New York law, a contract’may be formed from more than
one writing and relevant writings creating a contract may consist of letters, or unsigned
memoranda).

Numerous courts have explained that the determination of whether a contract was formed
is a question of fact to be determined by the trier of fact. See, e.g., Deutsche Asset Mgmt. v.
Callaghan, No. 01-Civ.-4426, 2004 U.S. Dist. LEXIS 5945, at *51 (S.D.N.Y. Apr. 7, 2004)
(“The guiding principle behind all of these inquiries into contract formation is that they are for
the factfinder. "); Martin H. Bauman Assoc., Inc. v. H & M Int'l Transport, Inc., 171 A.D.2d 479,
483, 567 N.Y.S.2d 404, 408, (1st Dep't 1991) (stating “the issue of whether or not the parties
ever came to a meeting of the minds so as to have entered into an enforceable agreement should

properly be left to the determination of the trier of the facts”). In evaluating whether an oral
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contract was formed, the four most common factors evaluated by the trier of fact are: (1) whether
there is evidence that the parties expressed an intent to be bound only by a writing; (2) partial
performance; (3) agreement on all material terms’; and (4) whether this is the type of agreement
normally reduced to writing. Power, 2006 U.S. Dist. LEXIS 961 88 at *48; see Consarc Corp.,
996 F.2d at 576 (listing exhaustive list of factors to examine and explaining that the Second
Circuit has refined and reduced the analysis to these four factors).

In Power, the court, after a bench trial, not on a motion for summary judgment, made a
factual finding that Tyco Corporation entered into an oral agreement with its former employee
concerning his severance package. 2006 U.S. Dist. LEXIS 96188, at *42-43, 48-49. In reaching
this conclusion, the court evaluated the credibility of the witnesses and explained that the
resolution of whether the parties formed an oral agreement was essentially a factual question. Id.
at *44, 48-49. Analyzing the four factors to determine whether an oral agreement existed under
the facts of the case, the court held as to the first two that there was no evidence that either party
expressed an intent to be bound only by a writing and the plaintiff performed by returning to
work at Tyco. Id. at *49. As to the third factor, although the parties did not explicitly agree on
whether a severance payment would be required in all possible scenarios and certain issues were
left open to later agreement or simply ignored, there was an agreement on all material terms of
the contract. Jd. at *52-53. Finally, the court noted that while it is true that employment

agreements are usually in writing, New York law only provides that this is a factor to be

2 Although courts will frequently use “material terms” and “essential terms” interchangeably, the recent trend in
evaluating the sufficiency of a contract is to determine whether it has all necessary “essential terms.” Shann v.
Dunk, 84 F.3d 73, 78 n. 3 (2d Cir. 1996). Without commenting on whether the terms are interchangeable, the
Second Circuit stated that it would use “essential terms.” Jd. “A material term is any term properly bearing upon
the subject matter of the contract. Essential terms are those items whose agreement is prerequisite to the formation
of a contract.” Jd. (quoting In re Windsor Plumbing Supply Co., 170 Bankr. 503, 523, n. 5 (E.D.N.Y. 1994)).

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considered; it does not hold that parties may not enter into oral agreements where such an
agreement is ordinarily in writing. Jd. at *54.

As in Power, the question of whether the parties formed a contract in this case “is at
bottom a factual one.” Jd. Viewed in the light most favorable to Monster, on May 5, 2012,
Phillips asked Sciacca whether there was any music that Monster could use as a soundtrack to a
Video of the Ruckus in the Rockies event. (Phillips Aff. 4 11.) Sciacca responded in the
affirmative and stated that Monster could go to his website and download his Megamix for free.
(Id.) On May 7, 2012, Phillips told Sciacca that he would send him the Video for his approval
before posting it. (Phillips Aff. ¢ 12.) Pursuant to that agreement, on May 8, 2012, Phillips
emailed Sciacca a copy of the Video and asked him whether he approved. (Phillips Aff. { 18.)
On May 9, 2012, Sciacca replied “Dope,” a slang term indicating approval and, in exchange, told
Monster to include a link to his website where his Megamix could be downloaded for free.
(Phillips Aff. ¥ 19.) Thus by May 9, 2012, when viewed in the light most favorable to Monster,
there is sufficient evidence that the parties had formed a contract, which Sciacca breached by
approving the use of his Megamix, and which he now claims he did not have the right to do,
consisting of the oral agreement reached on May 5, 2012 and May 7, 2012 and supported by the
May 9, 2012 email, as to Monster’s use of Sciacca’s Megamix.

Monster contends that the Agreement between Phillips and Sciacca regarding Monster’s
use of the Megamix on the Video consisted of the oral conversations on May 5 and May 7, 2012
and the May 9, 2012 email. As such, it is not only an oral agreement. Nevertheless, analyzing
the four most commonly evaluated factors leads to the conclusion that an enforceable oral
contract was formed. As in Power, there is no indication that the parties intended to be bound
solely by a writing. Second, Monster performed by using Sciacca’s Megamix as the soundtrack.

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(Phillips Aff. § 20.) Finally, as in Powers, although this is the type of agreement that would
usually be reduced to writing, agreements to use artists’ music are not always reduced to writing.
In fact, Sciacca’s rights to use Plaintiffs’ Beastie Boys music in his Megamix was never reduced
to writing and neither side received any compensation. (Deposition Transcript of Lorrie Boula,
dated April 4, 2013, attached as Ex. F to Pohl Aff, 46, lines 19-22, 47, lines 22-24; Sciacca Dep.
Tr., Ex. E, 59, lines 3-11 (Q: Did that permission from the Beastie Boys to use their songs, was
that in writing? A: Not that lever saw. Q: Is it your understanding that clearance nights have to
be in writing or not? A: I think it depends on the circumstances for each case).) Evidently, the
consideration in that instance was mutual promotion and that was considered sufficient to form
an agreement. Sciacca, apparently, was accustomed to licensing music without a formal written
agreement. (Sciacca Dep. Tr., Ex. E, 59, lines 3-11.) The final factor, agreement on all material
terms, is also satisfied, as will be discussed infra I. B.

There is, in short, a dispute of material fact as to the existence of a contract, requiring the
trier of fact to assess the credibility of the witnesses, as well as the documentary evidence. See
Rule, 85 F.3d at 1014 (explaining that where the deposition testimony did not lead to only one
permissible inference, “the decisions as to how to weigh the evidence, what testimony to believe,
and which of competing inferences to draw are to be made by the jury after trial” and holding
that when viewed in the light most favorable to the non-moving party, the jury could permissibly
find that the parties agreed that, in exchange for Rule's assignments of patents to Brine, Brine
would pay Rule reasonable royalties). In this case, the trier of fact could reasonably conclude
that Monster’s version of events, which is supported by documentary evidence, is credible and
supports the existence of a contract between the parties. By contrast, Sciacca claims in his
affidavit and deposition that he never even discussed with Phillips the use of the Megamix, yet in

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an email to Bova

BE (4c Poh A) ee
ee (emphasis added).) Whether Sciacca’s claim that the

May 7, 2012 conversation, his email approving the Video and requesting the inclusion of a link
to his Megamix be included on Monster’s webpage, and his June 5, 2012 <2! to Boula
all related to his mere approval of his image, is an issue of credibility that must be assessed by
the trier of fact. Given that Sciacca admits to having watched the Video two or three times and
heard his Megamix on it, had Sciacca not provided permission to Monster to use the Megamix, a
reasonable person in Sciacca’s position would have been expected to object, or at least question,
the use of his Megamix in the Video. See Consarc Corp., 996 F.2d at 573 (“The failure of the
writings to contain a disavowal is one of the common law principles courts rely on in deciding
whether several writings together form a contract between the parties.”). Instead, Sciacca,
emailed back “Dope” and asked that Monster include a link to the Megamix on his website from
the Monster Energy website. Whether Sciacca had a conversation with Phillips in which he gave
Monster permission to use his Megamix, or whether Sciacca was merely referring to the
approval of his image in the video, is an issue of credibility to be determined by the trier of fact.
Sciacca’s version of the facts is certainly not the only reasonable interpretation rendering there
no dispute of material fact.

Furthermore, Sciacca’s discussion of an agreement concerning the contract, entered into

"on February 28, 2012, relating to his performance at the After-Party is irrelevant. The After-

Party Contract is completely separate from the agreement Monster Energy contends was formed
between Phillips, as its representative, and Sciacca, between May 5, 2012 and May 9, 2012

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concerning the use of Sciacca’s Megamix on the Video. The After-Party Contract concerned
Sciacca’s live performance at the Ruckus in the Rockies after-party and does not cover—nor
would it be expected to cover—the use of Sciacca’s Megamix, which Sciacca claims he did not
even play at the After-Party (Sciacca Aff. { 26), on a recap snowboarding video. The agreement
between Phillips and Sciacca concerning the use of Sciacca’s Megamix is a separate contract,
covering a separate matter and, as outlined below, supported by separate consideration.

B. The Contract Was Supported By Consideration And The Essential Terms Of
The Contract Are Definite

As is well known, consideration can consist of an exchange of promises. Consarc Corp,
996 F.2d at 570 (explaining that “mutual assent between the parties, even though oral or
informal, to exchange acts or promises is sufficient to create a binding contract”); Roth v.
Isomed, Inc., 746 F. Supp. 316, 319 (S.D.N.Y. 1990) (“Consideration, which can take the form
of either promise or performance, can be either a bargained for gain or advantage to the promisee
or a bargained for legal detriment or disadvantage to the promisor.”). Contrary to Sciacca’s
contention that terms of compensation for Monster’s use of his Megamix are missing (Br. at 13),
this contract was supported by valuable consideration. In exchange for his permission for
Monster to use his Megamix, Sciacca received the additional exposure of his Megamix in the
Video, which was not only the soundtrack but credited at the end as “courtesy of Z-Trip,” and
the inclusion of a link to his website with the Megamix on the Monster webpage. Moreover,

both Sciacca and his manager Boula admitted that this increase in traffic to Sciacca’s website

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was a “benefit” to Sciacca. > The June 5, 2012 email Pe
es clearly demonstrates that Sciacca considered the additional

exposure of his Megamix—in both the Video and linked from Monster’s website—as well as the
inclusion of him in the Video to be valuable consideration in exchange for the use of his
Megamix in the Video. (See Ex. C to Pohl Aff.)

Although there must be a manifestation of mutual assent to essential terms, courts have
never required absolute certainty in the terms because courts want to avoid the extreme result of
canceling an otherwise valid contract. Cobble Hill Nursing Home, Inc. v. Henry & Warren
Corp., 74 N.Y.2d 475, 483, 548 N.E.2d 203, 206 (N.Y. 1989) (“While there must be a
manifestation of mutual assent to essential terms, parties also should be held to their promises
and courts should not be ‘pedantic or meticulous’ in interpreting contract expressions. Before
rejecting an agreement as indefinite, a court must be satisfied that the agreement cannot be
rendered reasonably certain by reference to an extrinsic standard that makes its meaning clear.
The conclusion that a party's promise should be ignored as meaningless ‘is at best a last resort.’")
(internal citations omitted). The determination of whether terms are essential is “necessarily
flexible, varying for example with the subject of the agreement, its complexity, the purpose for
which the contract was made, the circumstances under which it was made, and the relation of the
parties." Cobble Hill Nursing Home, Inc., 74 N.Y.2d at 482-83, 548 N.E.2d at, 206. The Second
Circuit has also counseled that, under New York law, the evaluation of whether terms are

essential requires “realistic flexibility” and the court should consider the broad framework of a

3 (Sciacca Dep. Tr., Ex. E, 119, lines 20-23 (Q: Were you happy that they were using a portion of the remix on the
soundtrack? A: Sure, I want people to hear this stuff I’ve done.”); 121, lines 14-17 (Q: When you made the
suggestion [about the Link], did you care one way or the other whether they followed your suggestion? A: I mean,
sure I cared.”); Boula Dep. Tr., Ex, F, 44, lines 11-13 (Q: Was having the megamix on Z-Trip’s website a way of
marketing Z-Trip? A: Yes.”).)

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contract in determining whether missing terms are actually essential -- that is, necessary to make
the agreement legally binding.” Shann, 84 F.3d at 79.

In this case, the essential terms are definite. In exchange for promotion on the Video and
Monster’s placement of a link, to his website containing the Megamix, on its website, Sciacca
provided that Monster could use his Megamix for free—hence the price term was definite. On
May 8, 2012, Phillips sent Sciacca a link to the Video containing the four songs Monster had
chosen to use in the Video for Sciacca’s approval. (See Ex. A to Pohl Aff.) Sciacca, watched
the Video two or three times, approved it, and that rendered the terms related to the particular
excerpts of the Megamix definite. The duration of use contemplated by the parties was
continuous and the manner of use was for the Video to be posted on Monster’s YouTube
channel. Moreover, aside from certain specific kinds of contracts, such as employment
contracts, duration is not necessarily an essential term. See Rule, 85 F.3d at 1013 (explaining
that "in the absence of an express term fixing the duration of a contract, the courts may inquire
into the intent of the parties and supply the missing term if a duration may be fairly and
reasonably fixed by the surrounding circumstances and the parties' intent,” including in the case
involving allegations of a promise to pay reasonable royalties from patent assignment).

As numerous courts have held, the contract does not have to be definite as to all of its
terms—only its essential terms. See Power, 2006 U.S. Dist. LEXIS 96188, at *51-52 (holding
that there was agreement on all material terms even though some contingencies of when the
plaintiff would receive severance were left to later agreement or simply ignored); Cobble Hill
Nursing Home, Inc., 74 N.Y .2d at 483, 548 N.E.2d at, 206. This was not a mere “agreement to
agree.” Cf, Candid Productions, Inc. v. Int’l Skating Union, 530 F. Supp. 1330, 1336 (S.D.N.Y.
1982) (holding that “’a mere agreement to agree’ is unenforceable for indefiniteness where

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material terms are left open for future resolution”). The essential terms of the contract are
sufficiently definite to be enforced.

II. Genuine Issues Of Material Fact Exist Concerning Monster’s Fraud Claim

Under New York law, the elements of fraud are: “(1) the defendant made a material false
representation, (2) the defendant intended to defraud the plaintiff thereby, (3) the plaintiff
reasonably relied upon the representation, and (4) the plaintiff suffered damage as a result of
such reliance." Wall v. CSX Transp., Inc., 471 F.3d 410, 415-416 (2d Cir. 2006).

When viewed in the light most favorable to the non-moving party, Monster has presented
sufficient evidence that Third-Party Defendant made a material false representation. When
asked by Phillips if he had any music that Monster could use as the soundtrack to the Video,
Sciacca told Phillips that Monster could use his Megamix, which was available on his website
for free, and Sciacca now asserts that he did not have permission to do this. (Phillips Aff. { 13.)
When Phillips emailed Sciacca a link to the Video asking Sciacca to approve it, Sciacca
responded “Dope,” which is a slang term indicating approval, which he also claims he did not
have permission to do. (See Ex. A to Pohl Aff.)

Sciacca claims that he knew during the relevant time that he did not have permission to
license his Megamix because it contains Beastie Boys music. (Sciacca Aff. q12.) It can
therefore be inferred that his representations to Phillips were made with the intent to defraud
Monster into using his Megamix as the soundtrack for the Video. In addition, Sciacca claimed
that if “anybody ever asks me about music to accompany with a video, I usually refer them to
music that is either stuff 1 own or stuff that—well, basically that’s it, only stuff own.” (Sciacca
Dep. Tr., Ex. E, 113, lines 2-9.) Sciacca also claimed that “If somebody comes asking for

anything that I worked on that I don’t own the copyright to, I’m distinctive in telling them that’s
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great, but I don’t own the copyright. You would have to get that cleared.” (Sciacca Dep. Tr.,
Ex. E, 113, 10-21.) Sciacca claims that Phillips never asked him if there was any music Monster
could use as a soundtrack for the Video while Phillips contends that he did. This is an issue of
credibility to be determined by the trier of fact. Viewed in the light most favorable to Monster,
Phillips asked Sciacca whether he had any music to license and instead of following his usual
practice of referring Phillips to music he owned, or telling Phillips that he did not own the
copyrights to his Megamix, Sciacca did neither, which is indicative of an intent to defraud
Monster.

Finally, in the same May 9, 2012 email, Sciacca requested that Monster place the Link on
its website.’ (See Ex. A to Pohl Aff.) Should Monster be found liable to Plaintiffs because
Sciacca did not have permission to license his Megamix, or have third-parties link to his website
where his Megamix was available for download, then his representations to Phillips that it was
permissible for Monster to use his Megamix were false and Monster clearly has suffered
damages.

Third-Party Defendant’s contentions that Monster’s reliance on Sciacca’s representations

was not reasonable is an issue of fact that cannot be determined on summary judgment. See JP

* Plaintiffs’ have sued Monster for copyright infringement in connection with the Link. (Compl. {§ 101-108.)
Monster contends that under well-established principles, it cannot be liable for merely linking to infringing content.
See, e.g., Myplaycity, Inc. v. Conduit Lid., No. 10 Civ. 1615, 2012 WL 1107648, at *12-13 (S.D.N.Y. Mar. 30,
2012) (holding that merely providing a link to a site containing copyrighted material does not constitute direct
infringement); see also eAdGear, Inc. v. Liu, No. 11-Civ. 5398, 2012 WL 2367805, at *12 (N.D. Cal. June 21, 2012)
(“hyperlinking alone does not constitute copyright infringement, since it does not involve any actual copying”).
However, Monster notes the absurdity that if it were found liable to Plaintiffs for linking to Sciacca’s website
containing his allegedly infringing Megamix that Sciacca would not also be liable for breach of contract and/or
fraudulent inducement in requesting Monster to put the Link on its website, or be liable to the Plaintiffs for
copyright infringement. Monster also notes that deposition testimony establishes that many other websites have
linked to Sciacca’s Megamix, which can only be downloaded or streamed from Sciacca’s website.

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Morgan Chase Bank v. Winnick, 350 F. Supp. 2d 393, 413 (S.D.N.Y. 2004) (stating where "the
reasonableness of reliance depends upon factual determinations that are not plain from a review
of the complaint and its attachments or that remain in dispute after discovery, the fraud claim
should not be summarily dismissed on that ground"); see also Dandong v. Pinnacle Performance
Ltd., No. 10-Civ.-8086, 2011 U.S. Dist. LEXIS 126552, at *36 (S.D.N.Y. Oct. 31, 2011)
(explaining that whether reliance on alleged misrepresentations are reasonable in the context of a
particular case is fact specific). Under New York law, it is necessary to take a contextual view,
looking at the parties’ sophistications and the information available, to determine whether
reliance was reasonable. J.P. Morgan Chase Bank, 350 F. Supp. 2d at 406. Monster is not in the
music business and whether Phillips’ and Monster’s reliance on Sciacca’s representations
concerning his own Megamix, which was his original work, available for free on his website

with no restrictions, is an issue of fact to be determined by the trier of fact.

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CONCLUSION

For the foregoing reasons, Third-Party Defendant’s motion for summary judgment should

be denied in its entirety.

Dated: New York, New York

August 22, 2013
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